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nsvlsn:)(nsmo) j _T,.
UNITED STATES DISTRICT COURT 1 _':
for § -"_“ L.
wEsTERN DISTRICT oF TENNESSEE .-.:_>
U.s.A. vs. Teresa Former noeth No. 2=02€1120429-0-'» .“-`

 

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2;02CR20417-6‘r"zi5=1_~’ “;' ‘
Petition on Probation and Supervised Release

COMES NOW Christy J. Henson PROBATION OFFICER OF THE COURT presenting an
official report upon the conduct and attitude of Teresa Fortner who was placed on supervision by the
Honorable Samuel H. Mays, Jr. sitting in the Court at Memphis, TN, on the _Z_O_th day of June , Z_QQ, who
fixed the period of supervision at three 13 1 years* , and imposed the general terms and conditions theretofore
adopted by the Court and also imposed Special Conditions and terms as follows:

 

l. The defendant shall make regular restitution payments towards restitution amount, on a payment
schedule to be determined by the Probation Ofticer.

2. The defendant shall be prohibited from incurring new credit charges, opening additional lines of
credit, or making an obligation for any major purchases without the approval of the Probation Officer.

3. The defendant shall provide the Probation OHicer access to any requested financial information

4. The defendant shall participate as directed in a program approved by the Probation Officer for
treatment of narcotic addiction or drug or alcohol dependancy which may include testing for the
detection of substance use or abuse.

The defendant shall maintain lawful full-time employment

The defendant shall obtain her General Education Development (G.E.D.) Diploma.

7. The defendant shall pay restitution in the amount of $2,576.18. (Balance: $2,027.18)

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* Term of Supervised Release Began: June 20, 2003, after a sentence of time served.

RESPECTFULLY PRESENTING PETITION FOR AC'I`ION OF COURT FOR CAUSE AS FOLLOWS:

Since beginning supervision Ms. Former has been struggling to make restitution payments due to
unemployment and low wages. After reviewing Teresa Fortner’s finances, it appears 5 % of her gross income
monthly income could be paid towards her obligation

PRAYING THAT THE COURT WILL ORDER that Teresa Fortner’s restitution payments be set at
five percent (5 %) of her gross income per month.

ORDER OF COURT R pectfull ,
“` ` /WMM
l€\onsidered and ordered this S day of
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, 209\/_ and ordered filed and made a hristy J.` on

part the records in the above case. United S robation Officer
g M Place: Memnhis. TN

l@`tjl States District Judg\e Date: Mav 5, 2005

Thls document entered on the docketcsjteet in compliance ' /U
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Notice of Distribution

This notice confirms a copy of the document docketed as number 102 in
case 2:02-CR-204l7 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

L. Daniel Johnson

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167 N. l\/lain St.

Ste. 800

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Honorable Sarnuel Mays
US DISTRICT COURT

